Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 1 of 73


                    UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                               .         Case No. 23-90147
 IN RE:                        .         Chapter 11
                               .         (Jointly Administered)
 MOUNTAIN EXPRESS OIL COMPANY, .
 et al.,                       .         515 Rusk Street
                               .         Houston, TX 77002
                  Debtors.     .
                               .         Monday, August 7, 2023
 . . . . . . . . . . . . . . . .         2:24 p.m.

                      TRANSCRIPT OF SALE HEARING
                 BEFORE THE HONORABLE DAVID R. JONES
                 UNITED STATES BANKRUPTCY COURT JUDGE

 APPEARANCES:

                              Pachulski Stang Ziehl & Jones LLP
  For the Debtors:            By:
                               Pachulski
                                    MAXIM Stang
                                          B. LITVAK,
                                                Ziehl ESQ.
                                                       & Jones LLP
                              One
                               By: Sansome
                                     BENJAMIN
                                           Street,
                                              WALLEN,
                                                   Suite
                                                       ESQ.3430
                              San
                               440 Francisco,
                                    Louisiana Street,
                                              CA 94104Suite 900
                              (415)
                               Houston,
                                     263-7000
                                         TX 77002
                               (713) 691-9385
                              Pachulski Stang Ziehl & Jones LLP
                              By: JEFFREY POMERANTZ, ESQ.
                                    JEFFREY DULBERG, ESQ.
                              10100 Santa Monica Blvd., 13th Floor
                              Los Angeles, CA 90067-4003
                              (310) 277-6910

 APPEARANCES CONTINUED.

 Audio Operator:              Courtroom ECRO Personnel

 Transcription Company:       Access Transcripts, LLC
                              10110 Youngwood Lane
                              Fishers, IN 46048
                              (855) 873-2223
                              www.accesstranscripts.com


      Proceedings recorded by electronic sound recording,
 transcript produced by transcription service.
Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 2 of 73
                                                                             2

 APPEARANCES (Continued):

                              Pachulski Stang Ziehl & Jones LLP
  For the Debtors:            By:
                               Pachulski
                                    BENJAMIN
                                          Stang
                                              L. Ziehl
                                                 WALLEN,& Jones
                                                          ESQ. LLP
                               By: MICHAEL
                                     BENJAMIND.WALLEN,
                                                WARNER,ESQ.
                                                         ESQ.
                              440
                               440 Louisiana
                                    Louisiana Street,
                                               Street, Suite
                                                        Suite 900
                                                               900
                              Houston,
                               Houston, TX
                                         TX 77002
                                             77002
                              (713)
                               (713) 691-9385
                                      691-9385

 For the Official             McDermott Will & Emery LLP
 Committee of Unsecured       By: CHARLES R. GIBBS, ESQ.
 Creditors:                        MARCUS A. HELT, ESQ.
                              250 North Harwood Street, Suite 1900
                              Dallas, TX 75201
                              (214) 295-8063

                              McDermott Will & Emery LLP
                              By: MARIS J. KANDESTIN, ESQ.
                              1007 North Orange Street, 10th Floor
                              Wilmington, DE 19801
                              (302) 485-3900
 For First Horizon            Greenberg Traurig, LLP
 Bank, as                     By: JOSEPH DAVIS, ESQ.
 Administrative Agent:        Terminus 200
                              3333 Piedmont Road NE, Suite 2500
                              Atlanta, GA 30305
                              (678) 553-2259
 For Phillips 66:             Locke Lord LLP
                              By: BRADLEY KNAPP, ESQ.
                              601 Poydras Street, Suite 2660
                              New Orleans, LA 70130
                              (504) 558-5155
 For SASS Petroleum,          Foley & Lardner LLP
 LLC:                         By: JOHN MELKO, ESQ.
                              1000 Louisiana Street, Suite 2000
                              Houston, TX 77002
                              (713) 276-5500

                              Fellows LaBriola LLP
                              By: STEVEN KUSHNER, ESQ.
                              233 Peachtree Street Northeast
                              Suite 2400, Harris Tower
                              Atlanta, GA 30303
                              (404) 586-9200




    ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 3 of 73
                                                                             3

 APPEARANCES (Continued):
                              Fishman Jackson
 For MEX 1123 Lane,
 LLC:                         By: MARK RALSTON, ESQ.
                              4835 LBJ Freeway, Suite 475
                              Dallas, TX 75244
                              (972) 419-5544
 For the U.S. Trustee:        United States Department of Justice
                              By: JAYSON RUFF, ESQ.
                              515 Rusk Street, Suite 3516
                              Houston, TX 77002
                              (713) 718-4650
 For Sunoco:
                              Katten Muchin Rosenman
                              By: MICHAELA CROCKER, ESQ.
                              2121 North Pearl Street, Suite 1100
                              Dallas, TX 75201-2591
                              (469) 627-7070
 For Spirit Realty,           Reed Smith LLP
 Inc.:                        By: KEITH AURZADA, ESQ.
                              2850 North Harwood Street
                              Suite 1500
                              Dallas, TX 75201
                              (469) 680-4211
 For Brazoria County,
                              Perdue Brandon Fielder Collins &
 et al.:                      Mott
                              By: MELISSA VALDEZ, ESQ.
                              1235 North Loop W, Suite 600
                              Houston, TX 77008-1772
                              (713) 862-1860
 For Marathon Petroleum       Frost Brown Todd LLP
 Company:                     By: RONALD GOLD, ESQ.
                                   MARK PLATT, ESQ.
                              Great American Tower
                              301 East Fourth Street, Suite 3300
                              Cincinnati, OH 45202
                              (513) 651-6800
 For 4Court Holdings          Baker Donelson Bearman Caldwell &
 LLC, 4Court Leading          Berkowitz, P.C.
 LLC, 4Court Solutions        By: LOCKE WALDROP, ESQ.
 LLC, and 4Court              First Horizon Building
 Imaging LLC:                 165 Madison Avenue, Suite 2000
                              Memphis, TN 38103
                              (901) 526-2000



    ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 4 of 73
                                                                             4


 APPEARANCES (Continued):
 For Subway/Doctor's          Venable LLP
 Associates:                  By: PAUL BATTISTA, ESQ.
                              100 Southeast 2nd Street, Suite 4400
                              Miami, FL 33131
                              (305) 349-2300
 For Aftermarket Sales        Quilling Selander Lownds Winslett &
 & Consulting LLC and         Moser P.C.
 LIM5903 Properties           By: JOSHUA SHEPHERD, ESQ.
 LLC:                         2001 Bryan Street, Suite 1800
                              Dallas, TX 75201
                              (214) 880-1824
 For Nine Shell Gas           Dorsey & Whitney
 Stations okay LLC:           By: ERIC LOPEZ SCHNABEL, ESQ.
                              300 Delaware Avenue, Suite 1010
                              Wilmington, DE 19801
                              (302) 425-7171
 For CAM-PL Cedar             Rubin & Levin P.C.
 Rapids LLC, CAM-PL           By: JAMES ROSSOW, ESQ.
 Cokeville LLC, and           135 N. Pennsylvania Street
 CAM-PL Kansas City           Suite 1400
 LLC:                         Indianapolis, IN 46204
                              (317) 860-2893
 For DBW Land Co. LLC:        Hudson Potts & Bernstein LLP
                              By: JASON SMITH, ESQ.
                              1800 Hudson Lane, Suite 300
                              Monroe, LA 71201
                              (318) 388-4400
 For Bowie Central            McCreary Veselka Bragg & Allen P.C.
 Appraisal District:          By: JULIE PARSONS, ESQ.
                              700 Jeffrey Way
                              Round Rock, TX 78665
                              (512) 323-3200
 For Schierl Sales            McGuire Craddock & Strother, P.C.
 Corp.:                       By: J. MARK CHEVALLIER, ESQ.
                              500 North Akard Street, Suite 2200
                              Dallas, TX 75201
                              (214) 954-6807




    ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 5 of 73
                                                                             5


 APPEARANCES (Continued):
 For Ford Motor Credit        Devlin Naylor & Turbyfill PLLC
 Company LLC:                 By: DONALD TURBYFILL, ESQ.
                              5120 Woodway Drive, Suite 9000
                              Houston, TX 77056-1725
                              (713) 622-8338
 For GPM Investments          Howley Law PLLC
 LLC, as a party in           By: TOM HOWLEY, ESQ.
 interest:                    Pennzoil Place, South Tower
                              711 Louisiana Street, Suite 1850
                              Houston, TX 77002
                              (713) 333-9125
 For Valero Marketing         Dykema Gossett
 and Supply Company:          By: DEBORAH WILLIAMSON, ESQ.
                              112 East Pecan Street, Suite 1800
                              San Antonio, TX 78205
                              (210) 554-5500
 For CITGO Petroleum:         Whiteford Taylor & Preston
                              By: BRENT STRICKLAND, ESQ.
                              111 Rockville Pike, Suite 800
                              Rockville, MD 20850
                              (301) 804-3610
 For Total Image              McGuireWoods LLP
 Solutions LLC:               By: JOHN MADDOCK III, ESQ.
                              Gateway Plaza
                              800 East Canal Street
                              Richmond, VA 23219-3916
                              (804) 775-1000




    ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 6 of 73
                                                                                   6

1           (Proceedings commence at 2:24 p.m.)

2                 THE COURT:    Good afternoon, everyone.       This is

3     Judge Jones.     The time is 2:24 Central.      Today is August

4     the 7th, 2023.     This is the docket for Houston, Texas.           On the

5     two o'clock docket, we have the jointly-administered cases

6     under Case Number 23-90147, Mountain Express Oil Company.

7                 Folks, please don't forget to record your electronic

8     appearance.     That's a quick trip to the website, a couple mouse

9     clicks.    You can do that at any time prior to the conclusion of

10    the hearing.     It is the way that we note your official

11    appearance.

12                We've got folks both in the courtroom as well as on

13    GoTo Meeting.     For those of you who are in the courtroom, if

14    you rise to speak, if you would please come to the podium.

15    It's the only place that you can both be seen and be heard.

16    For those folks of you who are on GoTo Meeting, a number of you

17    have already hit "five star," but if you do wish to speak,

18    you'll need to hit "five star."        Only need to do it once, but

19    you'll need to do "five star."        I'll unmute you, and then you

20    can be heard live in the courtroom.

21                Either way, first time that you speak, if you would

22    please state your name and who you represent, that really does

23    help the court reporter in the event that a transcript request

24    is made.

25                And finally, this afternoon, we are recording using



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 7 of 73
                                                                                  7

1     CourtSpeak.    We will get the audio of this afternoon's hearing

2     up on the docket, available for your download, shortly after

3     the conclusion of the hearing.

4                 And with that, who is taking the lead this afternoon

5     for the debtors?     Mr. Pomerantz, is that you?       Mr. Wallen, is

6     that you?

7                 MR. POMERANTZ:    That is me, Your Honor.

8                 THE COURT:    All right.    Thank you.

9                 MR. POMERANTZ:     Your Honor, can you hear me okay?

10                THE COURT:     Loud and clear.

11                MR. POMERANTZ:     Can you hear me okay?

12                THE COURT:     Yes, sir.   Thank you.

13                MR. POMERANTZ:     Good afternoon, Your Honor.          Jeff

14    Pomerantz of Pachulski Stang Ziehl & Jones, on behalf of the

15    debtors.    Appearing from my firm, with me virtually in the

16    courtroom, are Max Litvak, who will handle the evidentiary

17    aspects of today's hearing, Mr. Wallen is in court, and Mike

18    Warner is on the phone.

19                Also appearing are the debtors' chief restructuring

20    officer, Michael Healy from FTI, and Geoff Richards, the senior

21    managing director of Raymond James, the debtors' retained

22    investment banker.       And they will be, Your Honor, two of the

23    debtors' witnesses for today.

24                Your Honor, on Friday evening, August 4th, the

25    debtors filed their notice of successful bid at Docket



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 8 of 73
                                                                                  8

1     Number 1192 and the notice attached a letter of intent between

2     the debtors and GPM Investments, LLC, a subsidiary of ARKO

3     Corp., which described a going-concern transaction pursuant to

4     which the debtors would seek to sell substantially all, but not

5     all, of their assets for a gross purchase price of $49 million,

6     with $18.5 million of that amount coming from Oak Street, the

7     debtors' master lessor, who controls more than half of the

8     debtors' locations.

9                 I will refer to this today as the "ARKO/Oak Street

10    transaction."     The initial document that was filed on the court

11    was not signed; but when we filed our amended exhibit and

12    witness list, a signed version was actually filed.

13                As you'll hear, Your Honor, the ARKO/Oak Street

14    transaction is actually an integration of two transactions

15    which have and continue to require a careful balance of efforts

16    for the benefit of all constituents.         The ARKO/Oak Street

17    transaction will preserve thousands of jobs, hundreds of small

18    businesses, maximize going concern value for the benefit of all

19    stakeholders, and was the result of an extensive and extremely

20    complicated sale process which culminated in a successful

21    auction process which spanned August 2nd to August 4th.

22                In a few moments, I will describe the sale process

23    and the auction in more detail.        And, Your Honor, when I use

24    the word "successful" in talking about the auction, we use it

25    in the manner that the assets were market-tested under an



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 9 of 73
                                                                                  9

1     extensive process.     The ARKO transaction, we believe, is

2     supported by the debtors' major landlords, the debtors'

3     employees, and we believe will be supported by all of the oil

4     companies, a substantial -- and a substantial majority of

5     dealers.

6                  The lenders have not supported it, as Your Honor is

7     fully aware, and the Committee has filed a response indicating

8     they need more information before they can take a position.

9                  As we said in the notice, Your Honor, we are not

10    seeking court approval of the ARKO/Oak Street transaction at

11    today's hearing.     Rather, we are reporting to the Court on the

12    ARKO/Oak Street transaction in response to several actions that

13    lenders have taken over the last several days which challenged

14    the debtors' ability to proceed to document the ARKO/Oak Street

15    transaction and proceed with closing the sale.

16                 The timeline, Your Honor, is quite telling.            On

17    July 21st, the deadline for submission of bids pursuant to the

18    bid procedures order, the debtors received 12 bids.

19    Thereafter, the debtors received an additional four bids, for a

20    total of 16.     None of these bids, however, were "qualified

21    bids," as that term is defined in the bid procedures order.

22                 Importantly, of those 16 bids, none of them were

23    from the lenders who were required to submit a credit bid by

24    July 21st.     Your Honor recalls in the bid procedures order, all

25    they had to do was send a letter.        They didn't have to send



         ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 10 of 73
                                                                                   10

1     documentation saying that they were willing to credit bid.

2     They did not.

3                 On July 24th, the debtors' professionals made a

4     presentation to the lenders regarding the 14 bids that were

5     received at that time.        And at that meeting, the debtors'

6     professionals recommended that the lenders agree to continue

7     the auction from July 28th to August 2 to allow the debtors'

8     professionals to continue negotiation with the bidders in the

9     hopes of qualifying as many bidders as possible.

10                Although the debtors -- although the lenders rejected

11    the debtors' request to continue the auction, the debtors did

12    so anyway (indiscernible) they were permitted to do so under

13    the terms of the bid procedures order and because they

14    determined that in the absence of any qualified bids, it would

15    have been impossible to conduct an auction on July 28th.

16                The debtors filed their notice continuing the auction

17    to August 2, which appears at Docket Number 1099.            And on the

18    evening of August 1, the debtors met with the entire lender

19    group and updated them on the status of the negotiation with

20    bidders heading into the auction.         In fact, we tried to meet

21    with the lenders' professionals in person if they were in New

22    York.    They refused.    And only after we took the initiative of

23    calling a meeting with all the lenders did we have that forum.

24                And at that time, Your Honor, the debtors informed

25    the lenders that they had received a proposal from ARKO and



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 11 of 73
                                                                                   11

1     Oak Street which would fund the debtors' operations prior to

2     close -- which would fund the debtors options [sic] prior to

3     close, not require another penny from the lenders, and pay the

4     lenders $10 million net of closing costs the debtors believe

5     would be required to be paid as a closing of the sale plus

6     leave the lenders with owned real estate as well as certain

7     claims against the estate which the lenders had indicated that

8     they wanted to pursue.

9                 The debtors at that meeting asked the lenders that if

10    the $10 million was insufficient that they should come back to

11    the debtor and say what amount would be sufficient to support

12    their consent so that the debtors would have a target at the

13    auction the next day.

14                After the lender meeting, Your Honor, one of the

15    lenders in the syndicate, Bank of Hope, sent an email to Geoff

16    Richards of Raymond James stating that if we think -- "if we

17    all think this business is going to be sold for $10 million, I

18    would rather take chances in 7 and see all burn."            That letter,

19    Your Honor, is Document Number 7 in our witness and exhibit

20    list, which is at Docket 1197.

21                The debtors have subpoenaed Mr. Marshall, the Bank of

22    Hope representative and the author of the "burn" email, and

23    intend to call him as a witness during the evidentiary portion

24    of today's hearing.

25                On August 2nd, the parties convened in the Raymond



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 12 of 73
                                                                                   12

1     James office for the auction.        Prior to engaging with the

2     bidders and other interested parties, the debtors asked the

3     lenders if they had decided on a target for the debtors to

4     shoot for that would be acceptable to the lenders.             The

5     lenders' response?      They would need to receive $150 million in

6     proceeds to consent to a sale.        That response affirmed --

7     reaffirmed what the debtors have experienced from the lenders

8     throughout these cases:       they could not count on the lenders to

9     be constructive in the process.

10                The debtors' professionals spent nearly all day on

11    August 2nd and August 3, meeting with all of the bidders and

12    the major landlords to work with them to try to maximize value.

13    And I will discuss in a few moments some of the dynamics of the

14    auction process that made it extremely complex, and I will

15    explain the results that came out of the auction process.

16                While constructive negotiations were ongoing with the

17    bidders and landlords, on August 3rd, the lenders concurrently

18    took a number of destructive actions, deciding to end the case.

19    On August 3rd, the lenders declared an event of default and

20    issued a carve-out trigger notice under the DIP order, which

21    terminated the debtors' use of cash collateral.

22                What was the default that was declared by the

23    lenders?    Failing to conduct the auction by July 28th and

24    continuing it until August 2, a restriction in the DIP

25    agreement, but not the bid procedures order.           Yes, Your Honor,



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 13 of 73
                                                                                   13

1     that was it, a five-day continuance of the auction.

2                 On August 3rd, the lenders sent the debtors a notice

3     of the occurrence of maturity date, at Docket Number -- at

4     Docket Number 1197, in our witness and exhibit list, Number 4.

5     And on August 3rd, the lenders filed with the Court notice of

6     occurrence of the maturity date, which is Exhibit 5, at Docket

7     1168.

8                 The public notice, as would be expected and probably

9     intended, had adverse consequences for the debtors.             Several of

10    the debtors' major oil suppliers reached out to the debtors

11    immediately, concerned about the debtors' viability.             The

12    debtors explained to the oil suppliers that unless the lenders

13    froze the debtors' accounts, thereby causing automatic drafts

14    to bounce, action that required relief from the automatic stay,

15    the oil companies would be paid for fuel.

16                Based on that explanation and the understanding that

17    the debtors today would be asking the Court for the green light

18    to proceed with the ARKO/Oak Street transaction, the oil

19    companies did not take any action, although certain have since

20    put the debtors on credit hold.

21                At the end of the day, after August 3rd, after

22    exhaustive discussions with the bidders, the debtors met with

23    the lenders and informed them that they believed that the

24    ARKO/Oak Street transaction could be structured to provide a

25    recovery of $20 million, double the projection from August 1



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 14 of 73
                                                                                   14

1     that resulted in the "burn" email.         And importantly, the

2     debtors would not require any new financing from the lenders to

3     close the transaction, and the transaction would leave the

4     estate with the real estate and litigation subject to the

5     lenders' lien, to monetize for the lenders' benefit.

6                 The lenders' response, their last, best, and final

7     offer, they needed to be paid approximately $47 million, which

8     was the amount of the new money advance post-petition.               They

9     told the debtors' professionals that this was best, last, and

10    final, and not to come back with any other offer.

11                In the morning, on August 1st, lenders' counsel

12    emailed me that they would be filing a motion to convert the

13    cases to Chapter 7.      We have not seen any such motion hit the

14    docket.    However, the lenders' behavior during the last few

15    days was consistent with the August 1 proclamation from the

16    Bank of Hope that they preferred to see the estate burn.

17                Although the lenders try to distance themselves from

18    that email in their response to cash collateral, they may have

19    been the only one that sent the email, but it's pretty clear

20    that the majority group of lenders feel that way.

21                During the day on August 4th, the debtors reached a

22    tentative agreement in principle with ARKO and Oak Street with

23    respect to the ARKO/Oak Street transaction, and I will describe

24    those terms in detail in a few moments.

25                The debtors went on the record on August 4th, at



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 15 of 73
                                                                                   15

1     6 p.m., declared the ARKO/Oak Street transaction as the winning

2     bid; Docket Number 1197 -- of our witness/exhibit list,

3     Number 3.    And on August 4, as I mentioned, the debtors filed

4     their notice of successful bid, and their notice of status

5     conference report is at Docket 1194, which outlines how we got

6     to this point, much of which I am going over today.

7                 The lenders have told the debtors that they believe

8     they have the unfettered right to say no to any further use of

9     cash collateral and that the debtors can't do anything about

10    it.   We believe, Your Honor, it is the Court, not the lenders,

11    who will have the final say on whether a sale should be

12    approved and whether the proposed transaction is in the best

13    interest of creditors.

14                What we are asking for from the Court today is a

15    determination that the Court has the discretion to approve a

16    sale, notwithstanding the lenders' refusal to consent.               If the

17    Court answers that question in the affirmative, we will then

18    ask the Court for authority to use cash collateral for a

19    one-week period while we work to document the terms of the

20    ARKO/Oak Street sale transaction.

21                And on August 5, we filed an emergency amended motion

22    for use of cash collateral, seeking authority to use cash

23    collateral for one week.       And that amended motion is at Docket

24    Number 1196.     We then asked the Court for a continued hearing

25    on Monday, August 14th or thereabouts to consider approval of



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 16 of 73
                                                                                   16

1     the ARKO/Oak Street transaction, to address the objections that

2     have been filed thereto.       And we hope in the interim, at least

3     as it relates to the Committee, to answer any unanswered

4     questions they have.

5                 If the Court declines either of the debtors'

6     requests, we would ask the Court to issue an order why these

7     cases should not be dismissed, as opposed to converted, as

8     threatened by the lenders (audio interference) set a hearing

9     for later this week.      And as I will discuss towards the end of

10    my presentation, if the case is going to liquidate under these

11    circumstances, we believe that the Bankruptcy Court is not the

12    appropriate venue for that process.

13                During the course of my presentation, I am going to

14    provide a detailed background of how we got here.            While the

15    sale is just a status conference, we also have the cash

16    collateral motion.      So I will seek to put on the evidence of

17    Mr. Healy and Mr. Richards, as well as the bank

18    representatives, to support the factual statements that I'm

19    going to go into a little more detail now.

20                I would like to take the Court back to the time

21    leading up to the filing of these cases.          These cases did not

22    have a soft landing into Chapter 11, as I'm sure the Court will

23    recall.    Pachulski Stang and Raymond James were retained

24    approximately a month before the filing, and FTI was retained

25    two weeks before the filing.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 17 of 73
                                                                                   17

1                 As the debtors' professionals were learning about the

2     company, they lended -- they encountered a lender group which

3     was, apparently, according to them, caught off guard with the

4     debtors' financial distress and unwilling to provide debtors

5     with debtor-in-possession financing.

6                 It's hard to believe that they were really caught off

7     guard, Your Honor, because prior to the petition, they had

8     provided notices of default for lack of recordkeeping and they

9     had not received financial statements for some time.             So they

10    were not caught off surprise.        Maybe they were asleep at the

11    switch, but they were not caught off surprise.

12                The debtors' professionals warned the lenders that a

13    free-fall filing with no DIP funding in place was a very bad

14    idea and that the oil companies would likely immediately shut

15    off the debtors' fuel supply.        Notwithstanding these warnings,

16    shockingly, the lenders refused initially to provide DIP

17    financing commitment, and the debtors filed these cases on

18    March 18th without any financing.

19                As a result, the debtors immediately faced an

20    unforced error of a liquidity crisis upon filing.            It reduced

21    fuel shipments to suppliers, which strained relationships with

22    dealers and caused an upheaval in an already chaotic business

23    climate.

24                As Michael Healy, the debtors' CRO, has told the

25    Court and will tell the Court again today, the debtors have



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 18 of 73
                                                                                   18

1     been playing catch-up ever since and have not fully recovered

2     from this disruption.      We are not by any means saying this is

3     the sole cause of what brought us here today, but it sure

4     didn't help.

5                 After the Court authorized one-week use of cash

6     collateral, the lenders agreed to provide a limited amount of

7     debtor-in-possession financing to run a four-month sale

8     process, including an accelerated closing time frame.

9     Importantly, the lenders extended such financing only after the

10    debtors had obtained a commitment for a priming loan from a

11    third party, which would have provided the debtors with the

12    financing they needed.

13                So the lenders could have allowed the sale process to

14    proceed with alternative third-party financing.            But they did

15    not, and they chose to support the sale process culminating in

16    last week's auction.

17                While the debtors hoped that the financing and

18    timeline would be sufficient to maximize value in the sale

19    process, the debtors' professionals at that time did not fully

20    appreciate the information challenges they would encounter

21    during these cases.      More on that later.

22                So, in April, the debtors asked the lenders for

23    $9.35 million of additional financing to extend the sale

24    process for another month.       Again, the lenders balked.          The

25    debtors obtained an alternative priming commitment, and the



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 19 of 73
                                                                                   19

1     lenders ultimately relented.

2                 This was the second time that the lenders could have

3     limited their exposure and been in these cases without any

4     additional financial commitment.        They refused and advanced new

5     money pursuant to the final DIP order entered on April 25th.

6     Certain waivers and an additional $9 million of financing

7     followed, for a total of approximately $46.85 million advanced.

8                 To be sure, throughout the process, the debtors kept

9     the lenders fully up to speed regarding the sale process,

10    information challenges faced, and the feedback regarding the

11    bids.    And Mr. Richards will testify that there were no less

12    than 12 different reports, formal reports provided to the

13    lenders and their professionals, in addition to the numerous

14    other conversations and meetings that were had, including

15    weekly meetings that were established early on in the case.

16    So throughout the process, Your Honor, the lenders knew full

17    well what they were lending into.

18                As I mentioned, Raymond James was hired on

19    February 10th, approximately a month before the filing.              And

20    because the debtors were prepared -- were forced to prepare for

21    an emergency filing, all efforts during February and the first

22    month of March were directed towards trying to obtain a

23    forbearance from Oak Street, trying to shore up liquidity,

24    trying to understand the case, and prepare for what ultimately

25    was a very chaotic free-fall filing.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 20 of 73
                                                                                   20

1                 It did not really become apparent until soon after

2     the cases were filed that a sale process would be required.                  It

3     was then that the marketing began in earnest.           Unlike most

4     cases that come before Your Honor, this was not a case where

5     the marketing process was baked for three full months.               This

6     was literally a standing start at the beginning of the filing.

7                 Why was Raymond James hired?       It was hired because it

8     has a C-store vertical group that is best in class and has been

9     involved in more than 80 transactions in the industry, and

10    because of Mr. Richards' substantial restructuring experience

11    and that of his team of 25 bankers.         The robustness of the

12    marketing process that I will describe momentarily demonstrates

13    that Raymond James was the right investment bank for these

14    cases.

15                Commencing at or around the filing, Raymond James

16    contacted 142 potential buyers, comprised of 103 strategic

17    counterparties and 39 financial (audio interference) parties.

18    Nine parties submitted preliminary nonbinding indications of

19    interest in connection with an initial May 8th deadline.

20                In response to the end of -- response to the June 6th

21    deadline to submit letters of intent, Raymond James received

22    letters of intent from several parties; and on June 16th, the

23    debtors filed its procedures motion, which the Court entered on

24    June 22nd.     And that's at Docket Number -- Docket 701.

25                As the Court will recall, the lenders insisted on all



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 21 of 73
                                                                                   21

1     sorts of controls in the sale process which would have

2     prevented, in the debtors' opinion, its ability to exercise

3     their fiduciary duties and to run the process that they

4     believed was the best way to maximize value.           After the debtors

5     pushed back, the lenders relented and didn't press most of

6     their objections at the hearing.

7                 The bid procedures order established a bid deadline

8     of July 21st and scheduled an auction on July 28th and provided

9     for the sale hearing today.       Importantly, at the hearing, the

10    Court was very clearly told that the lenders -- the Court very

11    clearly told the lenders that they could either be a bidder or

12    a consultation party and that they would have to submit a

13    credit bid by July 21st.       And as I mentioned, they did not do

14    so then or at any other time.

15                Notwithstanding their intentional failure to submit

16    the timely credit bid, the lenders would not, until pushed at

17    the auction, acknowledge that they had relinquished such rights

18    under the bid procedures order.        And this is important,

19    Your Honor, because ultimately, submission of a credit bid is

20    the lenders' right and check to make sure the assets are being

21    sold at fair value.      Intentionally skipping the credit bid

22    deadline and then rejecting a sale that was market-tested by an

23    auction process, in favor of liquidation and a preference to

24    burn the estate, is not how the Bankruptcy Code is supposed to

25    work.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 22 of 73
                                                                                   22

1                 As of mid-June, 51 parties signed NDAs and received

2     access to the data room and, ultimately, 71 parties signed

3     NDAs, which Mr. Richards will testify is a very high yield

4     percentage of the parties that were reached out to.             They also

5     had calls with more than 200 parties and 54 different parties

6     -- more than 200 calls with 54 different parties to facilitate

7     diligence requests.      And ultimately, he will tell Your Honor

8     that this M&A process has been one of the most, if not the

9     most, challenging in his career.

10                While the debtors often have various operational and

11    informational shortcomings, the state of the debtors' financial

12    records in these cases and the ability to provide parties and

13    bidders with basic financial information was unlike anything he

14    has ever seen.

15                Example of some of these financial challenges facing

16    Raymond James as it conducted in the sale process were:              the

17    debtors lacked complete and current financial statements.               The

18    most recent audited financial statements were for the period

19    ending December 31, 2021.

20                The debtors were unable to generate accurate and

21    current store-level profit and loss statements; fuel gallon and

22    margin data; and in-store financials such as inventory levels,

23    product pricing, fuel sales, and payroll expense, among other

24    issues.

25                The debtors lacked complete historical information



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 23 of 73
                                                                                   23

1     about store-level environmental and zoning compliance.               The

2     debtors were missing leases, contracts, and other agreements

3     integral to the management of their business, and they did not

4     maintain detailed store-level accounting on unamortized fuel

5     branding discounts and rebates provided by major oil companies

6     and related store-specific imaging liabilities.

7                 Your Honor, it wasn't only the lack of this financial

8     information, but the inability to provide this financial

9     information led a number of parties to be concerned that they

10    were buying into unknown liabilities.

11                Now, Your Honor, I read the lenders' opposition to

12    cash collateral filed a couple of hours before the hearing.

13    And I've learned very early on in my career, and from

14    Your Honor, that lawyers should not make allegations that

15    somebody is hiding things or committing malfeasance unless they

16    have the facts to back that up.

17                But that's exactly what the lenders did in this case.

18    They filed an opposition where they say in two places that we

19    hid information from them, from the creditors, and from the

20    Court.    That, Your Honor, is categorically untrue.           There will

21    be never any way for the lenders to prove that, and that is

22    just unprofessional.

23                Rather, the evidence will show that the lenders knew

24    of the financial issues before the case, and when Raymond

25    James, FTI, and Pachulski came in, we were not shy in sharing



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 24 of 73
                                                                                   24

1     the concerns with the systems and the procedures.            In fact,

2     Your Honor, that is why the sale process was continued -- was

3     extended from four months to five months.          And in fact, the

4     lenders had authorized the debtors pre-bankruptcy to bring in

5     Grant Thornton to start working to put together information.

6                 The deficiencies, again, prevented basic financial

7     information from being provided, but nonetheless, numerous

8     parties remained interested in the process in the hope that the

9     debtors would be able to produce meaningful financial data.

10    And as I mentioned, the debtors had retained Grant Thornton to

11    help in that regard.

12                But post-petition, the lenders were counting every

13    penny, and they questioned, why is Grant Thornton being

14    retained?    And there wasn't any assurances that Grant Thornton

15    would be paid.     So they, in fact, had to wait until after

16    budgets were approved and their ordinary course retention was

17    approved.

18                So, ultimately, they were retained, but their start

19    date or their continuation date was put back a few weeks.               They

20    ultimately worked three months in interest -- in earnest to try

21    to put together information and were making good progress until

22    July 17th, when the lenders said, Grant Thornton, pencils down,

23    we don't see your work having meaningful impact on the sale

24    process.

25                So while they had made substantial progress in making



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 25 of 73
                                                                                   25

1     sense out of the books and records, they ran out of time.               Not

2     saying, Your Honor, here, if they had the other two weeks, the

3     auction would have been different, but it was indicative of the

4     lenders' approach, in this case, shutting down Grant Thornton,

5     which didn't help things.

6                 So that was the primary reason, Your Honor, that we

7     were not able to reach an agreement with a stalking horse.

8     There was just too much uncertainty, too much lack of financial

9     information.     But, as I said, the debtors did receive a total

10    of 14 bids, two of which were submitted after the July 21st

11    deadline and subsequently another two bids after that, so a

12    total of 16.     But, as I mentioned, none of them satisfied the

13    requirements in the bid procedures for qualification.

14                The auction was then continued to August 2nd, as I

15    mentioned, to further consider the group and qualify the bid.

16    The parties convened at Raymond James office in August 2nd for

17    the auction.     And after the lenders communicated to the debtors

18    an unrealistic $150 million release price for their consent to

19    the sale, the debtors realized they were on their own and would

20    endeavor to generate the highest and best value for the

21    debtors' assets and then present it to the lenders to get their

22    reaction.

23                So, over the next two days, the debtors'

24    professionals conducted round-the-clock negotiations with

25    several parties for various parts of the business and several



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 26 of 73
                                                                                   26

1     landlords who were parties to master leases with the debtors.

2     The purpose of those discussions was to see if the debtors

3     could cobble together bids or groups of bids that could compete

4     with a whole company bid or provide more value than the whole

5     company buyer was willing to pay.         Essentially, the parts are

6     greater than the whole strategy.

7                 During the process, which lasted more than two and a

8     half days, the debtor provided the lenders and the Committee

9     with updates.     I understand the Committee feels they weren't

10    provided with sufficient updates.         We endeavored to keep them

11    all informed.     Could we have done a better job?         Maybe,

12    Your Honor.     But in fact, when we were talking about a deal

13    that would pay half of the DIP facility, at the end of the day,

14    there would not be any recovery for unsecured creditors under

15    any circumstance.      Not a reason not to include them in the

16    process.    If we could have included them more, bad on us.             But

17    as I'm sure Your Honor is getting a flavor for what was

18    happening in those two days, this is a chaotic and a fluid

19    situation.

20                But you'll hear from Mr. Elrod that the debtors

21    didn't consult often enough with the lenders and shut them out

22    of the process.     And that, in fact, will be false and

23    inconsistent with the facts.        We met with them a few times.

24    But seriously, when the lenders said they insisted on

25    $150 million to support the sale, it was a clear message that



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 27 of 73
                                                                                   27

1     they were not going to be a constructive part of the process,

2     but were there sitting patiently, waiting for this case to

3     fail.

4                 The two-plus days the debtors spent with all of the

5     bidders and landlords revealed some harsh realities which

6     affected the values the debtors could receive from their

7     assets.    First, the bids other than the WholeCo bid overlapped

8     materially, making it virtually impossible, since most parties

9     did not allocate value to individual assets, to assess

10    realistically the realizable value of the aggregate of those

11    bids.

12                Second, many of the bidders' contingencies relating

13    to lease concessions could not be satisfied.

14                Third, because the debtors were unable to break their

15    master leases with Oak Street and the debtors' other landlords

16    without their consent, the debtors had no ability outside their

17    consent to sell partial lots.        And in fact, if you aggregated

18    all the partial company bids, it only amounted to 38 percent of

19    Oak Street's leases.      So, not surprisingly, Oak Street

20    preferred an alternative that would deal with its entire

21    portfolio as opposed give more than 60 percent of its

22    properties back.

23                And fourth, Your Honor, ARKO, the only party

24    submitting the WholeCo bid, declined to carve assets out from

25    its bid in order to allow the debtor to sell those assets to



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 28 of 73
                                                                                   28

1     other bidders as a means of potentially increasing value.

2                 And lastly, Your Honor, several parties required

3     material time to reach a closing of (audio interference)

4     transactions and were not providing any liquidity in their bids

5     to make that happen, and the debtors did not have that

6     liquidity.

7                 As a result, Your Honor, the debtors' only viable

8     alternative was to negotiate the best possible transaction with

9     ARKO and Oak Street (indiscernible) their liquidity needs prior

10    to closing.     Much of August 3 and August 4 were spent

11    negotiating the LOI, which is before the Court today.             And

12    after a lot of hard work, the debtors reached agreement with

13    ARKO and Oak Street, the principal terms which were reflected

14    in the letter of intent attached to the notice of successful

15    bid, and they are as follows:

16                ARKO will pay the debtors approximately $49 million

17    for substantially all of the assets.         I'm not going to sit here

18    today, Your Honor, and tell everyone to take $49 million to the

19    bank.    However, when Mr. Healy gets on the stand, Your Honor,

20    he will tell the Court that, based upon the assumptions and

21    based upon conversations with landlords and others, he thinks

22    we have a good shot at reaching that amount or somewhere close

23    to it.

24                Excluded from the sale will be cash on hand,

25    prepetition litigation claims, and the debtors' own real



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 29 of 73
                                                                                   29

1     estate.    Upon execution of the asset purchase agreement,

2     execution of the agreement and approval by the Court, which we

3     hope to occur as soon as next Monday, the debtors will receive

4     a nonrefundable 13 and a half million dollar deposit to be used

5     to fund operations pending a closing of a transaction which is

6     scheduled to close on or before October 31st.

7                 Oak Street is funding the 13 and a half million

8     dollar deposit upon Court approval and funding an additional

9     $5 million at closing; and agreeing to defer all rent for

10    August, September, and October; and agreeing to restructure its

11    leases with ARKO post-closing.

12                Two items on the Oak Street aspect of the

13    transaction:     First, there seems to be a serious disconnect

14    with the lenders, because when they filed their exhibit and

15    witness list today for the cash collateral motion, they took a

16    deduct of $18.5 million payable to Oak Street upon closing.

17    That is incorrect.      Oak Street is putting the 18 and a half

18    million in, it's deferring its rent, but the rent deferred is

19    going to be part of the new ARKO restructured leases.             There

20    will be zero rent paid to Oak Street, so it is not in any way a

21    deduct.

22                But second, Your Honor, I stood before Your Honor at

23    the beginning of this case, and I said one of the principal

24    reasons that we were here is because of aggressive actions that

25    Oak Street had taken to force the debtor into bankruptcy.               And



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 30 of 73
                                                                                   30

1     I don't shy away from those comments, Your Honor.            Mr. Healy

2     doesn't shy away from those comments.         What the lenders and the

3     Committee both say is, wow, there must be tremendous claims

4     against Oak Street that the debtors would be giving up by doing

5     a deal with Oak Street and giving them a release.

6                 Your Honor, Mr. Healy will not say that he's

7     investigated the claims, but what Mr. Healy will say is that,

8     subsequent to the filing, when we expected Oak Street to be the

9     significant protagonist in this case, they have not.             True,

10    they've been paid their rent, but they have not made trouble by

11    calling in all the defaults, environmental or anything that

12    they could have raised with the Court, with respect to their

13    properties.     They have sat and waited to see how they could be

14    helpful in an ultimate restructuring.

15                So, yeah, we have not conducted a full, fair

16    investigation of the claims.        Are there claims that exist?         We

17    don't believe so, based upon what we know.          But neither have

18    the lenders or the Committee done any investigation.

19                So, at some point, Your Honor, this case will be at a

20    threshold and a crossroads.       Your Honor will have to decide.

21    Is this case going to be a litigation case where people are

22    going to roll up their sleeves, probably hire people on a

23    contingency basis, no money to prosecute these claims, and make

24    it all about the claims against Oak Street?           Or is Your Honor

25    going to look at the 13 and a half million they're paying on



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 31 of 73
                                                                                   31

1     signing, the five additional million they're paying, and the 17

2     and a half -- 17 to 22 million, depending on when the sale

3     closes, either at the end of September or October, as

4     sufficient consideration, given where we are today?

5                 And again, that's not necessarily here for Your Honor

6     to decide today.      That will be for Your Honor to decide at the

7     ultimate sale hearing.        But it is clear, and there will be no

8     dispute, that without Oak Street's support and participation,

9     we would not be here with an ARKO/Oak Street transaction.               We

10    would not be here with a potential going-concern sale to save

11    thousands of jobs, business relationships, and vendor

12    relationships, and we would be liquidating.

13                Your Honor, the remainder of the 30 and a half

14    million dollars of the purchase price, which is the 49- minus

15    Oak Street contribution, will be paid at closing by ARKO based

16    upon the following:      an estimated $13 million for all the

17    debtors' fuel and non-fuel inventory; an estimated

18    $15.25 million of the debtors' travel centers and fuel supply

19    business based upon the fuel supply business generating

20    119 million gallons of fuel per year; $2 million for any money

21    collected by the debtors in connections with its claims to

22    Imperial and GSS.

23                Interestingly, we asked ARKO to buy the claims

24    because, although we are owed several million dollars more, we

25    thought we were doing the lenders a favor and increasing the



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 32 of 73
                                                                                   32

1     purchase price so they wouldn't have to fund the litigation and

2     they could get a recovery.       In the lenders' liquidation

3     analysis, in opposition to cash collateral, they say that they

4     think that the claims are worth four and a half to $6 million.

5                 So we are happy to go back to ARKO, ask them to carve

6     those claims out of the transaction and reduce their purchase

7     price by $2 million.      I suspect ARKO would agree to that.           And

8     if the lenders want that, that's another asset that they could

9     prosecute.

10                Your Honor, the 13 and a half million dollars of cash

11    that is being provided to the debtors to fund preclosing

12    operations, and which will be subject to a cash collateral

13    motion next week to cover the period through October, is based

14    upon the amount of liquidity the debtors need to supplement the

15    cash generated by the business to pay operating expenses and

16    professional fees with a couple of important caveats:             First,

17    it assumes no rent payments to Oak Street, Vereit, and Spirit

18    through October 31st closing.

19                Oak Street, which represents more than 50 percent of

20    the debtors' monthly rent expense, has agreed to the treatment.

21    And the others -- other two REIT landlords, Vereit and Spirit,

22    have also indicated a willingness to do so.

23                With respect to the non-REIT landlords, Your Honor,

24    the debtors intend to send out a letter to all of its non-REIT

25    landlords informing them that its leases will be rejected as of



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 33 of 73
                                                                                   33

1     August 31st, unless the landlords defer rent, restructure their

2     leases in the matters contemplated by the letter of intent,

3     waive cure payments, and agree to extend the time to assume and

4     reject their leases until October 31st.

5                 Faced with the task of taking back their leases, the

6     debtors anticipate and the cash flow projections contemplate a

7     substantial number of landlords agreeing to this deal.               And, in

8     fact, it assumes that 50 percent of all non-REIT landlords will

9     agree to the Oak -- ARKO/Oak Street transaction.

10                To make the numbers work, Your Honor, Pachulski Stang

11    and FTI have agreed to reduce their run rate to closing below

12    the amounts that they believe are necessary to close the

13    transaction, in the aggregate amount combined for Pachulski and

14    FTI of $700,000.      And as I will discuss in a couple of moments,

15    Raymond James is agreeing to reduce his M&A fee by $1 million

16    at closing.

17                Your Honor, the lenders made a big issue in their

18    opposition to cash collateral regarding the debtors' financial

19    performance and projections in this case.          They say, which is a

20    complete mischaracterization, that the debtors have missed

21    projections in the last 15 of their 18 reporting periods.               But

22    in fact, as I will mention when I get to the cash collateral

23    presentation, that for the last eight weeks, the debtors not

24    only have been spot on in net fuel, in operating expenses and

25    cash flow, they have exceeded.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 34 of 73
                                                                                   34

1                 So, yes, at the beginning stages of the case, the

2     debtor was hit with a lot of problems from their landlords and

3     from their dealers.      That's litigation, a lot of which has been

4     brought before Your Honor:       Imperial, GSS, VM Petro.        So, yes,

5     that caused the debtor to miss the projections.            But once

6     things were smoothed out, actually, projections have been

7     pretty accurate.

8                 If the debtors' operating cash estimates actually

9     prove conservative, any excess will be paid to the lenders,

10    increasing their recovery after Raymond James recaptures its

11    million-dollar fee that it is deferring or waiving.             And if the

12    debtors' estimates hold up at closing, which they believe they

13    have a fighting chance to, they will receive $35.5 million at

14    closing.    Of that amount, they would pay approximately

15    $10 million on account of post-petition taxes -- as Mr. Healy

16    will let Your Honor know that he believes, as a CRO, a debtor

17    should be paying its post-petition taxes; $4.6 million to

18    Raymond James, which consists of a portion of its DIP fee that

19    has been deferred and its reduced M&A fee; $230,000 on account

20    of the KERP the Court has approved; and a few hundred thousand

21    in miscellaneous costs.       And the net result would be an

22    estimated $20 million to the lenders.

23                While these numbers are based on estimates, we think

24    we have a shot at achieving them.         But we're not going to

25    (audio interference) Your Honor and say they could take that



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 35 of 73
                                                                                   35

1     $20 million to the bank.       What we will tell Your Honor is that

2     that vastly exceeds what they would receive in a liquidation.

3                 So this is the transaction.       So what are the benefits

4     to the estate?     The transaction saves thousands of jobs, scores

5     of family businesses that rely on the debtors' businesses;

6     preserves tenants for the debtors' landlords and preserves fuel

7     outlets for the oil suppliers; and a going concern to continue

8     to do business with various unsecured vendors.           The sale carves

9     out cash on hand, owned real estate, certain prepetition

10    litigation claims, and if the lenders want, the post-petition

11    litigation claims against Brothers to provide additional

12    recovery to the lenders.

13                Importantly, the lenders do not need to extend any

14    new financing to consummate the transaction.           All they need to

15    do is allow their cash collateral to be used, cash collateral

16    which would not be generated if the debtors ceased operations.

17    The debtors' judgment is that this deal is in the best interest

18    of the estate.

19                Do we have a lot of wood to chop between now and

20    getting to a final APA?       Absolutely.    Your Honor has known as a

21    practitioner, that getting from an LOI to an APA is not an easy

22    task.    Should we all try to do that to preserve this company?

23    The lenders -- the debtors' professionals answer that in an

24    unequivocal yes.

25                So what stands in the way of this transaction?            The



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 36 of 73
                                                                                   36

1     lenders.    Why?   They would rather see the cases liquidated.

2     I'd refer the Court back to Mr. Marshall of Bank of Hope's

3     email to Mr. Richards on the eve of the auction.            He said he

4     would rather take his chances in Chapter 7, and see all burn,

5     rather than receive $10 million in real estate recovery.

6                 As the lenders are persisting in their position, they

7     obviously have the same view, even under a transaction that has

8     doubled the recovery to $20 million.         The lenders apparently

9     have this view because they believe a Chapter 7 would generate

10    a better recovery, and they have put Mr. Tibus on their witness

11    list, and they have added a liquidation analysis.

12                We, in the evidentiary portion of this hearing,

13    Your Honor, will clearly demonstrate that their liquidation

14    analysis is inaccurate, it's overstated, and it's wildly

15    optimistic.     Mr. Healy, who has been living with this company

16    for five months, will walk the Court through the liquidation

17    analysis to show that if the taxes are paid and other closing

18    costs are paid, there will be zero, zero recovery.

19    (Indiscernible) there's a source of funding for the Chapter 7

20    trustee to run whatever liquidation process the lenders

21    apparently have in mind.

22                In their liquidation analysis, they say Chapter 7

23    professional fees will be a million to a million and a quarter.

24    They should know better than that.         Your Honor knows that in a

25    conversion, in a case of this size, of this complexity, it will



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 37 of 73
                                                                                   37

1     cost multiples of a million to a million and a quarter for the

2     lenders' professionals, in addition to pursuing the claims that

3     they say they have.

4                 And the lenders conveniently ignore that if the Court

5     was to convert the case, I suspect the Court would consider

6     first terminating the leases so that the landlords could take

7     back their properties, some of which are in disrepair, rather

8     than let a lengthy Chapter 7 process go on.           Your Honor,

9     there'll just be very little to monetize and no funding to do

10    so.   And we will demonstrate that by the evidentiary record.

11                The only persuasive evidence presented today will be

12    from Michael Healy, who will testify, as I said, in a

13    liquidation there's zero, as opposed to a going-concern

14    transaction where they have a realistic shot of $20 million.

15                The lenders really are apparently content to rely on

16    what they believe is their unilateral right to veto a

17    transaction that they do not like, relying on Paragraph 11 of

18    the DIP order, and destroying the value and shutter a large

19    business with all the collateral damage that comes with that

20    reckless decision.      And the lenders are content to rely on what

21    they believe is the debtors' inability to seek to use cash

22    collateral under Paragraph 11 of the DIP order.

23                From the lenders' perspective, essentially, that is

24    the beginning and the end of the argument.          But they are wrong,

25    Your Honor.     Under Paragraph 22 of the final DIP order, the



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 38 of 73
                                                                                   38

1     Court expressly reserved the right to fashion an appropriate

2     remedy on the determination that an event of default occurred

3     and the lenders get relief -- seek relief from stay.

4                 I've been before Your Honor many times, and I know

5     Your Honor insists on that language because Your Honor does not

6     want to be hamstrung on what happens when an event of default

7     occurs.    The Court's equitable power, taken together with its

8     powers under Section 105, provides the Court with discretion to

9     fashion appropriate relief, which in this case would be to

10    authorize the debtor to proceed with an economically,

11    rationally, market-tested sale.

12                Second, Your Honor, Rule 60(b) of the Federal Rules

13    of Civil Procedure made applicable to bankruptcy cases under

14    Bankruptcy Rule 9024 provides the Court with authority to

15    relieve the debtors from the requirement to obtain the lenders'

16    consent to a use of cash collateral or a sale.

17                60(b)(6) provides for relief from a judgment for any

18    other reason that justifies relief.         And the Fifth Circuit

19    cases we have cited in our materials, the Hesling and Harrell

20    cases, say that "60(b)(6) is a grand reservoir of equitable

21    power to do justice in a particular case" where relief is not

22    warranted under other sections of Rule 60(b).           So Your Honor

23    doesn't have to rule on 105, and courts generally tend to not

24    like only to rule on 105.       Here, Your Honor, has Rule 60(b)(6).

25                And as the Fifth Circuit has said, "The broad



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 39 of 73
                                                                                   39

1     language of Clause 6 gives the court ample power to vacate

2     judgments whenever such action is appropriate to accomplish

3     justice."

4                 And there is authority in the Pan Am case, district

5     court from New York, Southern District, in the '90s, cited in

6     our amended cash collateral motion, that if the court wants to

7     amend a financing order, 60(b)(6) is the appropriate vehicle to

8     seek to do so.     And in that case, Judge Blackshear had amended

9     a DIP financing order but didn't go through the analysis of

10    60(b)(6).    And the lender said you can't do it, and the

11    District Court said you can, you've just got to go back to

12    Bankruptcy Court and have Judge Blackshear make the appropriate

13    findings.

14                Your Honor, we don't make this argument lightly.             We

15    understand the sanctity of court orders and that the Court's

16    ability to override the lenders' consent would only be

17    justified in extraordinary circumstances.          But these cases

18    provide those extraordinary circumstances.          The debtors

19    indisputably ran a thorough and robust sale process.

20                The Committee makes a comment that the process was

21    doomed to fail at the beginning.        With all due respect, we

22    disagree.    We find, as the Court finds, debtors as they are.

23    This debtor has its challenges.        We ran a process.       The process

24    produced a market-tested result.        It worked.     Did we get as

25    much value as people would have hoped?         Of course not.        Was it



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 40 of 73
                                                                                   40

1     a market-tested process?       Yes, it was.

2                 The ARKO/Oak Street transaction is a going-concern

3     sale.    As I said, will save thousands of jobs, hundreds of

4     businesses, tenants for landlords, and provide the lenders with

5     an estimated $20 million in cash, plus leave the estate with

6     claims to be further modified -- monetized.           And we say the

7     evidence that will be presented, Your Honor, is that the

8     transaction will generate significantly higher recovery than a

9     Chapter 7, which we believe would generate the zero recovery.

10    And the debtors have the financing to approve -- to go to

11    closing this transaction without further new money from the

12    lenders.

13                The lenders are inexplicably refusing to approve the

14    transaction, with one lender representative saying he would

15    rather see the case burn.        Your Honor, if this case doesn't

16    present extraordinary circumstances justifying relief under

17    60(b)(6), then I can't imagine what circumstances would

18    justify.

19                And I want to return to what I told the Court early

20    on in my presentation.        The lenders intentionally decided not

21    to submit a credit bid when they had the opportunity to do so.

22    That was the lenders' ability to check the process not yielding

23    sufficient value to their liking, and they made a deliberate

24    decision not to do so.

25                Under Section 363(f)(3), the debtors may sell free



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 41 of 73
                                                                                   41

1     and clear of a lien if the price at which the property is to be

2     sold is greater than the aggregate value of all liens on

3     property.    Your Honor has seen this issue, I'm sure, many, many

4     times.    There's no controlling law in the Fifth Circuit.            We

5     and the lenders have cited basically the cases that go both

6     ways.    And basically, Colliers [sic], who is the expert in

7     bankruptcy, holds that a market-tested auction process

8     determines the value of all liens on property and allows the

9     court to approve a sale that does not cover the face value of

10    the lien.    The secured creditor's ability and response to that

11    is a credit bid right.

12                Your Honor, before I summarize, I just would like to

13    address a few of the items in the cash collateral motion.               In

14    our cash collateral motion, we seek cash collateral for a week.

15    Very small amount of money, for just a week.           And why do we

16    seek it for a week?      As I said, to try to document this

17    transaction.

18                The lenders have made a number of statements and

19    arguments that are just flat wrong.         First, they argued the LOI

20    is not signed.     I told the Court before that the document

21    before the Court is signed.       Second, they said it was a failed

22    and admittedly flawed sale process.         For the reasons I've

23    discussed, it is not -- it is not such.

24                Then they say the transaction is not in the best

25    interest of the estate, and we haven't provided an explanation



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 42 of 73
                                                                                   42

1     why conversion is not in the best interest of creditors.              But

2     we have done so, Your Honor, and the evidence will show.

3                 They also say months of -- actually, as I said, of

4     hiding the debtors' lack of finance -- fundamental accounting

5     records and internal controls from the Court and the parties.

6     You've heard my concern with those statements, which will not

7     be true, and really cast aspersion on the integrity of

8     Pachulski Stang, FTI, and Raymond James, who have been working

9     hard throughout this case to generate value.           To now be told

10    that we have been hiding things from the Court and the lenders

11    is irresponsible.

12                They say the sale will cause harm because it will

13    increase the administrative insolvency in this case.             That is

14    not correct, Your Honor.       The testimony will be that whatever

15    unpaid administrative claims exist today, and the lenders

16    grossly overstate it, the debtors estimate having sufficient

17    money to pay all non-rent administrative claims until closing,

18    both in this week -- one-week budget and the budget that would

19    be presented to the Court next Monday.

20                They say the headline purchase price will not be

21    obtained -- attained.      Well, again, they've misconstrued the

22    Oak Street contribution.       It's not a deduction.       And the

23    evidence -- and they say the evidence will show that they're

24    inflated, all the estimates are inflated.          And again, while the

25    numbers are an estimate, they are not inflated, and Your Honor



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 43 of 73
                                                                                   43

1     will be the one to determine whether you believe Mr. Healy's

2     testimony that he believes that the debtors have a reasonable

3     shot of reaching it.

4                 They also say that the conversion of the cases to

5     Chapter 7 will yield a large return.         As I mentioned, we

6     categorically reject that.

7                 And with respect to their argument that we can't be

8     trusted with budgeting -- putting aside that all we have,

9     Your Honor, is a one-week budget, okay?          They said we missed 15

10    of 18 budgets.     And as I said, the big issue early on in this

11    case was sublease rent; but over the last eight weeks, from

12    June 2 to July 21st, we've done two and a half percent better

13    on operating receipts, 15.9 percent better on operating

14    disbursements, and 25.4 percent better on cash flow.

15                So it's convenient to say we missed projections and

16    to try to hammer us on what happened early in the case; but if

17    you look carefully, as I know the Court will, you will see that

18    over the last two months that is not true.

19                And they say why do you need professional fees for

20    the next week, because you already got your $400,000 carve-out?

21    Your Honor knows the time and effort that went into last week,

22    Your Honor knows the time and effort that goes into a hearing

23    today preparing multiple witnesses.

24                Unfortunately, as has been the case from the

25    beginning, we're spending millions of dollars fighting with the



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 44 of 73
                                                                                   44

1     lenders.     So, yeah, that $400,000, which is available to all

2     professionals, I got to believe is pretty much close to

3     exhausted by the end of today.

4                 Your Honor, if you're going to give the debtor the

5     go-ahead to try to document this transaction, to answer

6     questions the Committee has, questions the lenders have, and

7     honestly, I'm sure, questions Your Honor has, it's only

8     appropriate that professionals be paid to do so.            And again, I

9     think the amount set forth in the budget, even for this one

10    week, are less than what we will end up incurring.

11                They say there's no adequate protection, but if the

12    case shuts down, there will be no revenue stream.            That's what

13    they seem to miss.      If we shut down, you're not going to be

14    able to generate the money in the budget.          So we're essentially

15    saying keep the company alive for a week, let us use the

16    money -- and it shows, I think, there's $30,000 degradation in

17    their protection package.       Otherwise, they are adequately

18    protected.

19                And then they talk about the 363(f) and contractual

20    provisions.

21                Lastly, Your Honor, they say that the estate is

22    administratively insolvent and present evidence of 30 and a

23    half million dollars.      That is wrong.     That includes seven and

24    a half million of August rent, which is just made up.             We

25    expect rent to be deferred.       To the extent it's not deferred,



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 45 of 73
                                                                                   45

1     there's a minor amount that -- from the landlords who don't

2     accept the deal.      But that's in the hundreds of thousand

3     dollars.

4                  They say Raymond James back-end financing fee is an

5     administratively insolvent amount.         No, that's paid from the

6     carve-out.

7                  And they point to the fact that we're not paying

8     503(b)(9) claims.      Well, Your Honor has seen a lot of cases

9     that doesn't pay 503(b)(9) claims.         So you ignore that,

10    Your Honor, and you ignore the over $2 million that Pachulski

11    and FTI are over budget, you have amount, no question,

12    administrative claims that may not get paid in this case.               But

13    the key point for Your Honor and for other case constituents is

14    whether from hereon in there is an expectation of further

15    administrative insolvency, and the evidence will show that it's

16    not.

17                 So, in summary, Your Honor, the debtors request the

18    Court authorized the debtor to work towards documenting the

19    ARKO and Oak Street transaction.        And we don't ask for approval

20    of it at this time, only a determination that the lenders do

21    not have an unequivocal veto right.         And we understand that the

22    Court's approval will wait for next week, where the Court will

23    also rule on the many other objections that were filed to the

24    motion, which we will work on to resolve.

25                 If the Court does not agree with us and determines



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 46 of 73
                                                                                   46

1     that the lenders have a veto right, then we would request that

2     the Court issue an order why these cases should not be

3     dismissed.     The lenders aren't financing these cases anymore.

4     They intentionally watched the sale process to see if it

5     produced a result they liked; failed to credit bid; and

6     rejected a market-tested sale without [sic] any rational

7     economic actor would do, and elected not to credit bid.              They

8     haven't indicated any willingness to fund any profit.

9                 Nobody else other than the lenders stand to benefit

10    in a 7.    Rather, the lender has state law remedies available to

11    it, and the Court should allow them to go exercise those state

12    court remedies as opposed to clogging this Court's docket.

13                They haven't indicated any willingness to fund any

14    process.    Nobody else, other than the lender, stands to benefit

15    in a 7.    Rather, the lender has state court remedies available

16    to us, and the Court should allow them to go exercise those

17    state court remedies as opposed to clogging this Court's

18    docket.    So under these facts, if the Court cannot proceed to a

19    sale, the debtor should dismiss the cases rather than convert.

20                Finally, Your Honor, I would like to move into

21    evidence, Exhibits 1 through 13, which were reflected on the

22    debtor's second amended witness and exhibit list, filed at

23    Docket 1197.     And of course, I'm prepared to answer any

24    comments Your Honor has.       And after Your Honor has opening

25    statements from other parties, we are prepared to go forward



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 47 of 73
                                                                                    47

1     with the evidentiary aspect of today's hearing.             Thank you,

2     Your Honor.

3                 THE COURT:     All right.     Thank you, Mr. Pomerantz.

4     I'm going to wait on the admission of the exhibits.

5                 Let me ask.     Ms. Reckler, you're going to tell me

6     about 1182?

7                 MS. RECKLER:      No, Your Honor.    I know to stay out of

8     other people's business when it doesn't involve me.

9                 THE COURT:     NoO, no, no.    It's -- I -- your Sorrento

10    order.

11                MS. RECKLER:      Yes, Your Honor.

12                THE COURT:     1182 has been uploaded.

13                MS. RECKLER:      Yeah, we're all set, Your Honor.

14                THE COURT:     I got it.    It's -- you're welcome to stay

15    and listen.     You're also welcome to go.       Thank you very much.

16                MS. RECKLER:      Thank you, Your Honor.

17                THE COURT:     Thank you.     All right.    Mr. Elrod, do you

18    want to respond?      Or you certainly get the opportunity to make

19    opening.

20                MR. ELROD:     Thank you, Your Honor.       John Elrod, for

21    the record, on behalf of the -- John Elrod, for the record, on

22    behalf of First Horizon Bank as the DIP agent.            Ms. Heyen will

23    cover the opening for the lenders.

24                THE COURT:     All right.     Thank you.    Sorry about that,

25    Ms. Heyen.



          ACCESS TRANSCRIPTS, LLC                     1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 48 of 73
                                                                                   48

1                 MS. HEYEN:    No problem, Your Honor.       I promise I

2     won't go on for an hour, so I'll try to make this short and to

3     the point.

4                 Your Honor, Shari Heyen of Greenberg Traurig on

5     behalf of the DIP agent, who's First Horizon Bank.             And so,

6     Your Honor, after spending almost 50,000, or excuse me, $50

7     million in post-petition DIP financing, the debtors produced no

8     qualified bids, no qualified bidders, no binding asset purchase

9     agreement, no signed agreement at the end of the day, and no

10    deposits.    And attached to the status report that the debtors

11    filed late one evening is a nine-page, unsigned letter from a

12    potential bidder who we understand never even put up a deposit.

13    And that was the outcome, after spending $50 million in post-

14    petition financing.

15                The lenders have been faithfully and in good faith,

16    extending post -- extended post-petition financing.             We were

17    told that the money would be used to get to a robust auction

18    where qualified bidders would show up.         Even on July 21st, the

19    debtor's professionals were telling us that one of the bids

20    came in around $97 million.       However, on August 1st, which was

21    the eve of the auction, the debtor's professionals told us that

22    they might, might be able to get us $10 million, and that was a

23    shocking result, and of course, frustrating.

24                The DIP lenders were pressured into loaning another

25    $9.5 million to get us to an auction.         A process, again, that



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 49 of 73
                                                                                   49

1     resulted in a draft letter agreement and a statement that

2     maybe, just maybe, we could get $20 million.           Upon realizing

3     that the process had failed on the eve of the auction, which

4     was August 1st, the debtor's professionals asked us for a

5     release price, which we gave them at 9 a.m. on August 2nd.

6     They said they wanted a target to shoot for, so we gave them a

7     number.     We did that, and their response was not one of shock,

8     not one of disgust, one of thank you, we've got it.

9                 When we were at the auction on August 2nd, or I don't

10    know if there even was an auction because we asked if we were

11    having an auction.      We weren't -- that question was never

12    answered.     We asked again and again.      We sat in a conference

13    room for over eight hours.       We maybe got 10 or 15 minutes of

14    dialogue and update from the debtors' team.           There was no

15    record.

16                We asked for a record.      We asked for a transcript to

17    be taken.     None of that was ever done.      We have emails from the

18    debtor's team telling us that we weren't even going to go on

19    the record on August 7th.       Excuse me, on August 2nd.

20                Your Honor, the debtors talked a lot about the bid

21    procedures, so I'll just address that briefly.           Your Honor, we

22    feel like the debtors have ignored the Court's bid procedures.

23    The bid procedures order at Docket Number 701 referenced by

24    debtors' counsel shows that on July 21st, that was a deadline

25    to submit qualified bids.       None were submitted.       That was the



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 50 of 73
                                                                                   50

1     deadline to come up with a stalking horse.          None was ever

2     surfaced.

3                 On July 28th, 2023, at 10 a.m. Eastern, an auction

4     was supposed to be held.       The debtors unilaterally moved that

5     to August the 2nd.      Promptly after the auction, the notice of

6     successful bidder was supposed to be filed.           There was no

7     successful bidder.      All we got was a nine-page, unsigned, non-

8     binding draft document.

9                 On August 3rd, the adequate assurance objection

10    deadline was supposed to occur but that's been moved to an

11    indefinite date.      And today, Your Honor, we were supposed to be

12    before you on a sale hearing, and obviously, that's not

13    happening either.      The bid procedures order provides that

14    August 15th was the deadline to close the transaction.               That's

15    not happening either.

16                Attached to Your Honor's order at Docket 701 is a

17    laundry list of gating items that have to be met before we can

18    even get to an auction.       There are bid requirements that are

19    set out.    These are bid requirements, they're not suggestions.

20    The debtors wanted -- they -- their own bid procedures say that

21    among other things, that the bidder has to -- must, must

22    deliver to the parties an irrevocable binding offer for the

23    purchase of the assets.       Included in the irrevocable offer were

24    things like you must clearly state the list of assets and

25    liabilities that you're picking up or leaving behind.             You must



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 51 of 73
                                                                                   51

1     accompany your documents with an executed transaction document,

2     including a draft asset purchase agreement.           The bid must be

3     accompanied by a 10 percent cash deposit.          That never happened.

4     The documents have to identify all contracts that were being

5     assumed and assigned.      Again, Your Honor, that never happened

6     and there's a lot more features in the bid procedures, Your

7     Honor.

8                 The debtors and the potential bidders were supposed

9     to honor the terms of the bid procedures.          Then after -- only

10    after all of those requirements were met, were there, was there

11    supposed to be an auction.       Again, there was no starting bid.

12    They didn't have one.      They asked us for a release number.             We

13    gave it to them, and again, there was no alarm.            There was no

14    shock.    It was just, thank you.

15                All of this was supposed to -- all the bid procedures

16    were supposed to culminate in a successful bid.            And again, as

17    Your Honor knows, that never happened.

18                Rather than admit that their expensive process

19    failed, they now try to shift the focus to the lenders who have

20    funded a $50 million process and $218 million, all in.               The

21    expenditure of our cash collateral has yielded nothing as we

22    sit here today.     And so for the first time, the debtors are now

23    disclosing to Your Honor and to others that, and I'll just

24    quote from the status report, and Mr. Palmer has quoted from it

25    too, that the "debtors lacked complete and current financial



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 52 of 73
                                                                                   52

1     statements, that they were unable to generate accurate current

2     store, profit level -- profit and loss statements, that the

3     debtors lacked complete historical information, that the

4     debtors were missing leases, contracts and other agreements

5     integral to the management of the business."           The debtors did

6     not maintain detailed store-level accounting on unamortized

7     fuel branding discounts, et cetera, et cetera.           And they also

8     say in their status report that they had considerable

9     difficulties even populating a data room with the most

10    fundamental basic data.

11                But with all of those admitted deficiencies, the

12    debtor -- debtors now try to point the -- paint the lenders

13    with an intemperate email by a frustrated banker who's not the

14    agent and doesn't speak for our group, who watched the sale

15    process go down in flames.       And the auction, if there ever one

16    is -- if there ever was one, Your Honor, is closed.             There were

17    no bids.    There was no deposit.      All we got, again, on the

18    evening of August 4th, was an announcement on the record that

19    the auction had closed and that the proceeds had produced only

20    an unsigned letter of intent in which we might, and again,

21    might, get $20 million.       So the process has failed to or this

22    failed process has led to yet another request to use our cash

23    collateral to fund another week to see if the debtors can get

24    to the deal -- get to a deal.

25                We have spent close to $50 million trying to get to a



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 53 of 73
                                                                                   53

1     deal, and the lenders believe that they're probably going to

2     get more in a Chapter 7 liquidation, and they're taking steps

3     that any reasonable lenders would take under these dire

4     circumstances.     We believe that these estates are

5     administratively insolvent.       Currently, we estimate -- our

6     financial advisor estimates that there's about $30 million in

7     unpaid administrative expenses, and those expenses are

8     climbing.    So right now, there are unpaid taxes of about 10 and

9     a half million dollars.       The vendors are being stretched so

10    that this case could be financed.         August rents haven't been

11    filed -- paid, and there are other categories of expenses that

12    will continue to climb.

13                These are -- the 30 million represents the unpaid

14    admin expenses just through July 31st.         It's now August 7th,

15    and those expenses are -- will continue to go up.            That means

16    the debtors are digging a deeper insolvency hole than they are

17    showing the Court and the public.         We feel like there's a

18    complete lack of transparency here with the numbers and the

19    budgets.

20                And Your Honor, no one's more disappointed in all of

21    this than the lenders.        We are owed $218 million, all in.         The

22    debtors hope they can get us $20 million after they've spent

23    $50 million in post-petition financing.          We -- they have now

24    produced, I guess an -- a non-binding letter of intent after

25    all of their efforts.      And I think all of us will admit that



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 54 of 73
                                                                                   54

1     the letter that was received is ambiguous.

2                 We feel like we've been strung along.          We've financed

3     a process that was supposed to yield hundreds of millions of

4     dollars.    And yet as we sit here today, all we have is that the

5     -- all that our $50 million has produced is a non-binding

6     letter of intent.      All the sale procedures deadlines have been

7     blown through.     They spent all of the money and now they're

8     asking for more.

9                 And so, Your Honor, I think that you're now and maybe

10    even for the first time, getting a flavor for why the lenders

11    don't think that they should be forced to fund into a deepening

12    hole where there is not yet, after all the time and money has

13    been spent, a binding offer.        Your Honor, the debtors have a

14    fiduciary obligation to the creditors.         Yet their papers focus

15    on saving jobs of employees of third parties, some of whom

16    they've sued in litigation and who are not even creditors of

17    these bankruptcy estates.       That's not what the Bankruptcy Code

18    requires.    They owe a fiduciary obligation to their creditors,

19    not just third parties who are not creditors of these estates.

20                Here, the general unsecured creditors are getting $0

21    according to the debtors, and the DIP loan will not be repaid

22    under the scenario floated by the debtors that you just heard.

23    Your Honor, these are regional banks.         They serve customers and

24    their regions are in the southeast part of the United States.

25    They are taking action that any reasonable lender would do



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 55 of 73
                                                                                   55

1     under these dire circumstances, and they are respectfully

2     requesting that the use of cash collateral be denied, that we

3     move into an orderly wind down process with either a Chapter 11

4     trustee or convert these cases to a Chapter 7 to preserve any

5     remaining value for the benefit of the creditors.            Thank you.

6                 THE COURT:    So before you go.      So and I appreciate

7     the statement, so let's kind of work backwards.            One, and you

8     know, sometimes what you learn along the way, while it doesn't

9     have monetary value, I mean, $50 million has shown us a lot

10    about what this group of assets is worth.

11                And I'm, you know, a couple of things have become

12    very apparent to me.      Number one, you know, this group of banks

13    never should have been a DIP lender.         I -- they didn't do it by

14    choice.    I know that.    It's also clear to me that, you know,

15    that there's a problem with -- between the professionals.               I

16    got that too.     But I'm not focused on any of that.

17                I've got a group of assets that I'm trying to figure

18    out what to do with, and those assets are not -- they're not

19    pieces of concrete that don't have any effect on the world

20    around them.     I mean, I've been through the process where gas

21    tanks leak and when certifications aren't kept up.             I mean,

22    I've been through all of that and a lot of these are in

23    populated areas and, you know, I can tell the story, you're old

24    enough to remember, you know, with -- there was a certain gas

25    delivery company whose pipeline ran across the back of a number



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 56 of 73
                                                                                   56

1     of residential homeowners and there was a great aquifer and

2     people for years had you know, had watered their lawns from

3     these aquifers.     And I do remember a set of circumstances, we

4     made a really cool video where we went out and lit the

5     sprinklers because it would shoot flame.          You know, that,

6     that's -- I --     that's a real story and it has impressed upon

7     me the fact that we all need to be sensitive to a lot of

8     different things.

9                 So I actually think the process, and I don't

10    attribute anything to any of the professionals.            I think you're

11    all doing what you think you ought to be doing for your

12    respective clients.      Just a horrible set of facts.         And maybe

13    there are people who someday will have to answer for this.

14    Maybe not, I don't know.

15                But we're not going to make the situation worse.              And

16    as I look at this, I mean, the sale process didn't work.              I

17    mean, I appreciate the fact that the debtors believe they have

18    something.     It's not what they wanted.      I don't believe that

19    anybody went into this thinking that this was the outcome.

20    I certainly know you all didn't, and I don't think that --

21                MS. HEYEN:    It's not what we were told.        Okay.    We

22    were told in the hundreds of millions of dollars, hundreds of

23    millions.

24                THE COURT:    And you know that for whatever the

25    conversation was, no one knew, because you don't know what



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 57 of 73
                                                                                   57

1     happens in an auction until someone shows up and bids.               You

2     don't.    People can always change their minds.         So I'm not going

3     to attribute anything to that.

4                 But I've got a group of assets that is dispersed and

5     they are potentially problematic.         They affect an awful lot of

6     people.    And I'll -- somewhat of a grain of salt.          I take your

7     economic argument about they're not employees of the debtors,

8     although I care about everybody that works for a living, I do.

9     But the impact goes a lot further than that.

10                I've got it -- it's just an unusual structure and

11    I -- I'm worried about what happens.         So tell me and I'm not

12    predisposed on any of this.       I'm going to talk to Mr. Gibbs in

13    just a second, and I'm going to put him square in the middle of

14    everything, just so he knows it's coming.

15                What are we realistically supposed to do?           And I want

16    to walk through this with you.        You know what I did prior to

17    taking this job.      This case doesn't work with a Chapter 7.             We

18    haven't even talked about who's going to fund it and it's --

19    the estimate I heard is way low.        You know that because you did

20    some of that work too.        It's also unlikely that it's handled

21    very efficiently so I don't really see that as a really good

22    alternative.

23                I probably owe the landlords stay relief because I've

24    made them -- I've put them in a horrible situation as well,

25    given what's happened.        I mean, they've lost a ton of money



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 58 of 73
                                                                                   58

1     too, and will continue to do so.        And they don't really know

2     what their exposure is until they get out there and walk

3     through each of those facilities.         And while you can say, well,

4     there's a tenant out there, they can be responsible too.              Yes,

5     but you can only get what you can get.         And I recognize that

6     it's a horrible situation for the landlords as well.

7                 But what are we supposed to do in terms of, you know,

8     how do we bring it into the process?         I agree with you.        You

9     don't need to argue.      You don't need to argue to me that where

10    we end up today doesn't track the bid procedures.            Probably

11    tracks reality just in terms of what happened, but it doesn't

12    track the bid procedures.       And I am -- I do think I have the

13    discretion to create remedies where I see the right outcome.                 I

14    don't see the right outcome here.         I just don't see it.

15                And but you can't just walk away from this.           This is

16    a mess.    And, you know, I can say, okay, they're all yours.

17    You know, you got to think about that.         Do you really want

18    that?    Because again, I don't think anybody knows once it all

19    starts to fall apart, what that's going to look like.             But you

20    need to think about how we get from point A to an end, and if

21    it is simply lifting the automatic stay for the landlords,

22    maybe it's lifting the automatic stay for you.           Maybe it's, you

23    know, maybe it's the quintessential dirt for debt.             In a

24    contested matter, I don't think you want that, but, you know,

25    you ought to think through all those things.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 59 of 73
                                                                                   59

1                 I want an answer to the problem.        It's not that

2     people are good guys, people are bad guys.          I think everybody

3     tried.    This is a mess.     Process didn't work.      This didn't

4     work.    Nobody's to blame for that. That is -- that's a

5     professional standing here arguing a position.

6                 There may be other people that contributed to this, I

7     don't know.     Haven't been brought to me yet.        But everybody

8     tried, failed.     So let's all recognize that it failed and let's

9     try as this, as much as we can, to come up with a solution that

10    now minimizes harm.      That's what I want.      And I'm trying to

11    give you some comfort.

12                I'm not going to make you spend more money

13    involuntarily.     You may decide you want to.        You may decide you

14    need to because it helps your downside.          But I'm not going to

15    make you spend more money today, not based on what I've heard.

16                But I want a solution.      I want a solution that is --

17    that just makes sense.        I want a solution that minimizes any

18    potential environmental concerns.         I want a solution that gives

19    people who have a genuine pecuniary interest in the

20    continuation of these small businesses, the opportunity to try

21    and continue with a small business.

22                This debtor's done.      You know, there may be some

23    litigation claims.      There may be some other pieces of property,

24    okay?    Those are easy to deal with.       Those aren't going to go

25    anywhere.    They aren't going to hurt anything, but, these, you



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 60 of 73
                                                                                   60

1     know, these businesses that, you know, that have tanks in the

2     ground, I want a solution where I have somebody responsible, in

3     charge, all the time.

4                 So, again, I don't expect you, Ms. Heyen, to have an

5     answer to this today.      I'm telling you what's on my mind.           I'm

6     telling you what's bothering me.        I want to get out of your

7     concern, and it was a very passionate argument, made concisely.

8     I'm not going to make you spend any more money today on looking

9     at something that you don't believe in, that I don't know that

10    anybody believes in.      It's just a we're doing the best we can.

11    But I want a solution to the problem.

12                So let me -- we'll make another circle.          But let me

13    talk to Mr. Gibbs for a second.

14                MS. HEYEN:    Okay.

15                THE COURT:    Mr. Gibbs.

16                MS. HEYEN:    Thank you, your Honor.

17                THE COURT:    Thank you.    Mr. Gibbs.     Good afternoon.

18                MR. GIBBS:    I brought my water because I'm not sure

19    how long you're going to keep me up here.

20                THE COURT:    No, I -- it's -- I promise not to do this

21    too long.    I tried to give you a view into sort of where I am.

22    We've got a relationship problem.         Just got to recognize that.

23                MR. GIBBS:    Yeah.

24                THE COURT:    And I've got a problem.

25                MR. GIBBS:    So do we.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 61 of 73
                                                                                   61

1                 THE COURT:    And I know, and I don't see a scenario

2     where there's a meaningful distribution to your constituents.

3     Maybe I'm wrong about that.       I don't know.     I'm not trying to

4     evaluate litigation options.

5                 This may be one of those, you know, where you take a

6     playbook or you take a play out of, you know, I think this is

7     actually Pachulski's playbook where you start looking at and

8     saying, best we can get is we want to make sure that all of our

9     vendor constituents, you know, don't have to worry about 547s

10    in the future.     I don't know -- you guys will figure all of

11    that out.

12                What I want is -- I want ideas about what we do with

13    the problem assets that we have, which are those individual

14    locations.     And if it is a dismissal, I'm not adverse to that.

15    That's got -- that doesn't let me solve many problems.               It just

16    punts it and I'm not a guy that likes to punt things.             I like

17    to finish what I start.

18                I don't see, again, having spent a lot of time on the

19    Chapter 7 side, I view that as a punt as well.           An underfunded

20    Chapter 7 trustee dealing with geographically diverse assets is

21    a disaster waiting to happen.        And so I'm looking for a

22    solution.

23                We have no money.     We have a continuing cash burn.            I

24    have no doubt that there is a scenario where we are

25    administratively insolvent.       I don't know what that means as I



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 62 of 73
                                                                                   62

1     sit here today, but I need somebody to say, let's get focused

2     on fixing the problem.        And maybe that is, you know, maybe that

3     is just a lifting of the stay to let the landlords go take

4     their facilities and since they are well-capitalized and they

5     are certainly more knowledgeable than I am about all of these

6     things, or I certainly hope they are, and let them go start

7     dealing with those issues on a one-off basis and we focus on

8     some of the other things.

9                 I got all of that, but I need a voice in the middle

10    that can keep people focused, and if money needs to be spent,

11    then people need to understand what they get for spending

12    money.    I don't have a lot more guidance that I feel

13    comfortable in giving you because I'm going to cross over the

14    line of being an advocate very quickly here, and that's not

15    what I intend to be doing.       But I do have a problem.        I see the

16    problem.    It may be bigger than what everyone else thinks the

17    problem is, but at the end of the day, it's my responsibility

18    and I take that very seriously.

19                So what can I do to empower you?        Because you're the

20    one person who really sits in the middle in all of this.              What

21    can I do to empower you to try and find a solution that no

22    one's going to like, but is going to give me some comfort that

23    appropriate safeguards or appropriately capitalized parties are

24    overseeing, again, what I'm just going to call potentially

25    problematic assets?      And you know, with respect, whatever else



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 63 of 73
                                                                                   63

1     is there, that we figure out a economically rational way of

2     dealing with it.

3                 MR. GIBBS:    We can try to respond to the overture and

4     the invitation and try to continue to play a role that we see

5     as our only really viable and valuable role, and that is to be

6     the honest broker.

7                 THE COURT:    Right.

8                 MR. GIBBS:    This will be a terrible result for the

9     unsecured creditors of this company under --

10                THE COURT:    I understand.

11                MR. GIBBS:     -- any potential possible outcome.           We

12    know that.     We know that.

13                The advocates may say, therefore, sit down and be

14    quiet.    You don't have an economic stake in that.          I view it

15    entirely differently.      I think my job is to try to make the

16    best of a terrible situation.        This is probably the worst train

17    wreck that I've seen in the 45 years I've been doing this, ATP

18    notwithstanding, so it's, you know, it's in -- it's on the

19    short list, let's put it that way.

20                THE COURT:    Sure.

21                MR. GIBBS:    Very good professionals, very experienced

22    professionals, all came into their respective roles with their

23    eyes wide open.     And that's part of the risk we all take.

24                What would I do directly?       I know I've heard you say

25    a number of times, I'm not going to order parties to mediation.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 64 of 73
                                                                                   64

1     One of the parties that would need to be involved, and there

2     may not be, and the debtor may say, I'm not going to waste five

3     more minutes talking to lenders.        The lenders may say, I'm not

4     going to waste time, even five more minutes talking to the

5     debtor.    We're open for business and we'll talk to both

6     parties, number one.

7                 There's another one or two economic parties here that

8     should be part of the discussions, and that's the party that

9     surfaced late Friday afternoon, and that's the party that has,

10    as you heard described, delivered a non-binding letter of

11    intent that may or may not get to any kind of an APA, that may

12    or may not get to the Court at some later date with the

13    debtor's support, to be approved.         What I don't want to have

14    happen today is have any evidence regarding that transaction

15    litter the record.      It sounded like from the very lengthy and

16    comprehensive statements that Mr. Pomerantz made is that he

17    wanted a first bite at the apple at justifying the debtor's

18    business judgment in approving that transaction.            That's not

19    before today. What they announced on the record Friday

20    afternoon was they were not going to go forward with the sale

21    motion.    We're here today on their emergency motion to use cash

22    collateral.

23                I'm not sure, and I asked my partner, Marcus Helt,

24    exactly what he thought you meant when you said, I'm not going

25    to make the lender spend any money.         If you meant by that, I'm



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 65 of 73
                                                                                   65

1     not going to allow the debtor, over their objection, to use

2     cash collateral, we have a very, very limited period of time, I

3     believe, because it -- without the ability to use the proceeds

4     from the sale of fuel or the products that are in the stores

5     that the debtor operates, the debtor will not have any ability

6     to pay even the next bill that comes in.

7                 THE COURT:    Right.

8                 MR. GIBBS:    What we saw in the budget that we really

9     haven't been able to spend any time trying to dig into and get

10    detail on, is a budget for a week that is essentially cash-flow

11    neutral.    I don't disagree with Mr. Pomerantz's

12    characterization about the accuracy of late, of their

13    projections regarding receipts and it's a pretty limited amount

14    of money they're asking for authority to use.

15                I don't get the request to spend 680,000 for

16    professional fees the next week.        We're in this -- we're, as I

17    said, we're all sophisticated advisors who came in with our

18    eyes wide open.     You take that out of the budget, they're going

19    to be cash flow positive, if anything, for the next week.

20                THE COURT:    Right.

21                MR. GIBBS:    I don't think coming back here in a week

22    and fighting over what currently would be postured as a

23    contested sale hearing is the right answer either.             I would

24    like the Court to entertain the request of the debtor to use,

25    on a non-consensual basis, absolutely those funds which are



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 66 of 73
                                                                                   66

1     necessary to provide the revenue stream that they're budgeting

2     and to pay the payroll of the employees they have for at least

3     a two-week period of time.       So but I can't ask for the use of

4     cash collateral.      Only the debtor can.

5                 The debtor's asked for a week and it leaves us in

6     kind of a frustrating situation.        We don't really have the time

7     to, even if we got the parties to consent, to get somebody like

8     Judge Isgur involved to try to mediate and get cooler heads to

9     prevail.    We need the party that may or may not show up with a

10    checkbook to participate in those discussions.           And we need

11    just to try to find a solution.

12                None of what I heard is an acceptable solution.             Like

13    you, it is just saying, I give up.         You know, they were in here

14    for six months.     They borrowed $50 million.        They've incurred

15    tens of millions of dollars in professional fees.            It didn't

16    work, so let's just dismiss the case.         That leaves all of the

17    causes of action that may have value, that may not -- they're

18    gone in a dismissal, number one.        Not even a Chapter 7 trustee

19    could have the opportunity to look at them.           I don't know if

20    you could find a Chapter 7 trustee who would take the

21    assignment knowing that, for the reasons you just described and

22    you're full -- fully familiar with, they're going to be in an

23    underfunded operating Chapter 7 with 800 underground storage

24    tanks spread out over 25 states.        To say that that's an

25    acceptable solution is, I think, very far fetched.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 67 of 73
                                                                                   67

1                 I do think there is some benefit to considering -- it

2     hasn't been filed.      We're not asking for it today.         In short

3     order to come back and ask for the Court to consider whether or

4     not into these circumstances a Chapter 11 trustee is

5     appropriate if we -- if that is the condition upon which the

6     lender would be willing to allow more of its cash collateral to

7     be used or even fund further DIP financing to get to a fulsome,

8     closed sale that is we all -- what we all believe to be the

9     best that can be done and for a result that the lenders can

10    live with.

11                There is such a level of distrust between the lender

12    and the debtor, going both ways, that I don't think as I stand

13    here today, that we'll be back in a week or two weeks with any

14    meaningful hope of this process coming to a consensual

15    resolution in the absence of further discussion or potential

16    Chapter 11 trustee or a mediation.

17                So I'd like to take it in small bites.          I'd like to

18    have Your Honor consider giving the debtor a very short period

19    of time to use cash collateral non-consensually for as skinny a

20    budget as the Court is comfortable allowing them to spend.               And

21    I would like the parties to all tell the Court that they will

22    sit in a room, stop calling each other names, and try to come

23    up with parameters under which this debtor can survive to get

24    to the best possible sale.       And we're not there yet today at

25    all.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 68 of 73
                                                                                   68

1                 THE COURT:    Let me -- Ms. Heyen, let me ask you, and

2     while, not -- I did not mean to be disrespectful.            I was typing

3     because I was trying to figure out whether Judge Lopez or Isgur

4     were available.

5                 MR. GIBBS:    I didn't even notice.

6                 THE COURT:    Let me ask, Ms. Heyen, if I can get Lopez

7     or Isgur relatively quickly, like in the next week or two, will

8     you all consider a keep-the-doors-open budget?           That means no

9     professional fees.       It just means keep the doors open.

10                MS. HEYEN:    Your Honor, I'm happy to take that back

11    to the agent if you can give me maybe five or ten minutes.

12                THE COURT:    Absolutely.

13                MS. HEYEN:    I think we will absolutely consider it.

14    We just need some time to discuss it with our team.

15                THE COURT:    Sure.

16                MR. ELROD:    Your Honor, I do have --

17                MR. POMERANTZ:     Your Honor?

18                MR. ELROD:    I do have a response from our client

19    since we've been in the courtroom.         I apologize for

20    communicating with the client when we're in the courtroom.

21                THE COURT:     No, no.

22                MR. ELROD:    I understand the urgency of the matter.

23    The lenders are willing to, or the agent is willing to permit

24    the use of cash collateral provided that there are no

25    professional fees in the budget.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 69 of 73
                                                                                   69

1                 THE COURT:    Okay.    So let's do this and I don't know

2     how, Mr. Wallen, since you're --

3                 MR. POMERANTZ:       Your Honor, can I respond?      To the

4     concept of mediation, your Honor?

5                 THE COURT:    Sure.

6                 MR. POMERANTZ:       Your Honor, you know, your -- that

7     I'm a big fan of mediation.        I've spent time with you in

8     mediation and with (indiscernible) time, and we feel very

9     highly about Judge Isgur and Judge Lopez.          There's an economic

10    reality that I think people are ignoring.          Putting aside

11    professional fees, Mr. Healy, this morning, and I, when I told

12    him that the best we can get is a hearing next week if

13    everything goes our way today, he said, we do not have the

14    time.    We need new financing.

15                So if we don't get new financing, put aside

16    professional fees.       Okay?    We've worked for free before.       We

17    don't like it.     We're going to do the right thing.          Your Honor

18    has always known that we and FTI and Raymond James, we will do

19    the right thing.

20                But Mr. Healy will say that putting aside

21    professional fees, if we don't get money in, we can't continue

22    to operate.     That's number one.

23                Number two, it's really not a question of convincing

24    us of doing something.        We don't have any more money.       All we

25    have is a proposal and a deal.         So if the lenders want to take



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 70 of 73
                                                                                   70

1     it back, they want to take it back.

2                 We can't give them anything.       The only thing we can

3     give them is a deal.      And ARCO and Oak Street has steadfastly

4     refused to pay any more money.        So I don't know what we can do.

5                 I do understand a lot of concerns about the letter of

6     intent.    I do understand people need to see a purchase

7     agreement.     So if the answer was, well, look, we think it is --

8     it's squishy, we'd like to get some questions answered.              We'd

9     like to be part of a documentation process and try to reach an

10    overall deal.     I totally get that, but I don't see really what

11    we are going to accomplish in mediation unless it's to talk

12    about the burial.      If the talk is about a burial, and your

13    Honor says, based upon what you've heard and all the open

14    questions, we shouldn't proceed to the sale, yeah, we could of

15    course have a conversation and a discussion on what's the

16    appropriate way to bury this.        But if it's really to

17    potentially have some transaction that is going to do the thing

18    -- the only way to do the things that Your Honor wants to be

19    done, protecting the environment, protecting the employees, not

20    making this a mess, not requiring a lot more money to be spent.

21                And again, I'll point out.       We are not asking the

22    lenders other than use of cash collateral to fund an additional

23    dime.    That was a key part of our transaction.         We needed to

24    have a deposit available upon signing the agreement and Court

25    approval.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 71 of 73
                                                                                   71

1                 So, Your Honor, I'm all for mediation in many cases

2     when there is a dispute that could be resolved.            I just don't

3     know what I have to offer in that dispute because we don't have

4     a checkbook.

5                 THE COURT:    So, I can think, again, because I can't

6     be an advocate, I can think of half a dozen ways out of this.

7     I've just talked to Isgur.       I want Mr. Wallen, I mean, you're

8     going to have to coordinate with Mr. Pomerantz and if Isgur

9     wants to get Pomerantz on the phone, he's certainly welcome to

10    do that.

11                I need for you, one lawyer from the DIP lender, and

12    one lawyer from the Committee to go down and see Judge Isgur.

13    He says that he thinks he can find time within the next week to

14    ten days.    And I just want you to have a conversation with him.

15                But if I can see the path, I know that he can see the

16    path because he taught me the path.         So I want you to at least

17    go have the conversation and see what the options are and then

18    we can come back and figure out.        We're not going home today

19    until we have a plan.      And if we have to come up with a stop

20    gap cash collateral usage to, you know, for the next week or

21    two weeks or whatever it is that you all agree to, until we

22    figure out how we're going to proceed forward, all fine by me.

23    But again, I'm in an uncomfortable position because I'm going,

24    why can't you all see this?       And I can't start saying but A and

25    B and C and D and E.



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 72 of 73
                                                                                   72

1                 I want you to go talk to Isgur, have a conversation

2     about when he's available.        Again, I have, you know, I have

3     a -- he left out a word, and I think I know what it means, but

4     I want you to go hear it from him and find out what he's got

5     available.     And I told him three people were coming down and

6     you know, you can go hover around his door.           If he's willing to

7     take more, all fine by me.        But I told him three people were

8     going to come see him.

9                 And for those of you --

10                MR. POMERANTZ:     And (indiscernible) too, Your Honor?

11                THE COURT:    Okay.

12                MR. POMERANTZ:     It's okay if we call him?

13                THE COURT:    Of course it is.     Of course it is.       And

14    for those of you who are on video, I'm -- I've got two other

15    matters I'm going to call.        But when folks come back in the

16    courtroom, then we'll recall the case and figure out what we're

17    going to do either today or some other day.           All right?

18                All right.    Thank you, everybody.       You're excused.

19                MS. HEYEN:    Thank you, your Honor.

20          (Proceedings concluded at 4:04 p.m.)

21                                      * * * * *

22

23

24

25



          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
     Case 23-90147 Document 1239 Filed in TXSB on 08/10/23 Page 73 of 73
                                                                                   73


1                            C E R T I F I C A T I O N

2

3                 I, Alicia Jarrett, court-approved transcriber, hereby

4     certify that the foregoing is a correct transcript from the

5     official electronic sound recording of the proceedings in the

6     above-entitled matter.

7

8

9

10    ____________________________

11    ALICIA JARRETT, AAERT NO. 428           DATE: August 10, 2023

12    ACCESS TRANSCRIPTS, LLC

13

14

15

16

17

18

19

20

21

22

23

24

25




          ACCESS TRANSCRIPTS, LLC                    1-855-USE-ACCESS (873-2223)
